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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    LISA MONTGOMERY,

                          Plaintiff,

                          v.                           Case No. 1:20-cv-03214 (TNM)

    WIILIAM P. BARR,
    Attorney General of the United States in his
    official capacity, et al.,

                          Defendants.


                                               ORDER

          Before the Court are the Plaintiff’s Emergency Motion to Delay Transfer, ECF No. 36,

and Motion for Order to Return Case, ECF No. 37. The Court denies both motions as moot.

          The Court has accommodated Plaintiff’s concerns regarding alleged ongoing and

imminent constitutional violations at every turn. See, e.g., Pl.’s Mem. Supp. Mot. Prelim. Inj. at

22, ECF No. 12-1 (“Mrs. Montgomery’s current conditions of confinement pose such a

substantial risk of harm to her that they will have an impact tantamount to the impact of torture.”

(cleaned up)); Pl.’s Mem. Resp. to Ct.’s Show Cause Order at 15, ECF No. 18 (arguing that a

transfer “would not just prejudice Mrs. Montgomery, it would increase the likelihood of her

current torturous conditions being prolonged”) (emphasis added). 1 The Court ordered

condensed briefing schedules on the Plaintiff’s motions, expedited the Court’s own consideration

of the matters at hand, and most recently, transferred the case to the Northern District of Texas

immediately to ensure that these alleged violations are addressed as quickly as possible.


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         Now that the Court has rendered its ruling, the Plaintiff’s claim that the urgency she has

alleged is “somewhat mitigated,” see ECF No. 36 at 2, rings hollow. In any event, the files have

already been transferred to the transferee court, rendering this Court without jurisdiction to

address the Plaintiff’s motions. See Starnes v. McGuire, 512 F.2d 918, 924 (D.C. Cir. 1974) (en

banc) (“[I]t is . . . clear that physical transfer of the original papers in a case to a permissible

transferee forum deprives the transferor circuit of jurisdiction to review the transfer.”); see also

In re Asemani, 455 F.3d 296, 300 (D.C. Cir. 2006) (explaining that that “[t]he Starnes rule was

adopted in order to ‘allow the [transferring] judge to consider any late-arriving briefs in

opposition to the transfer which may have been delayed by inefficiencies in the [prison] mail

services’” (alterations in original) (quoting Starnes, 512 F.2d at 934–35)). For these reasons, it is

hereby

         ORDERED that the Plaintiff’s Emergency Motion to Delay Transfer, ECF No. 36, and

Motion for Order to Return Case, ECF No. 37, are DENIED AS MOOT.

         SO ORDERED.

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Dated: November 25, 2020                                 TREVOR N. McFADDEN, U.S.D.J.




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